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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION

UNITED STATES OF AMERICA

v.                                          Case Number: 7:19−mj−00817

Jorge Enrique Sanchez




                           NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
J Scott Hacker
PLACE:
Bentsen Tower
1701 W. Hwy. 83
McAllen, Texas 78501
DATE: 4/18/2019

TIME: 02:00 PM
TYPE OF PROCEEDING: Status Conference




Date: April 18, 2019
                                                        David J. Bradley, Clerk
